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      MANDATORY REQUIREMENTS FOR INITIAL STATUS CONFERENCE

       Counsel for all parties are directed to appear before the Honorable Brian M. Cogan for
an initial case management conference in accordance with Fed. R. Civ. P. 16 on the date and
time set forth in the ECF notice in Chambers 704S at the United States Courthouse, 225
Cadman Plaza East, Brooklyn, New York. Principal trial counsel must appear at this and all
subsequent conferences.

       Plaintiff(s) counsel (is) (are) directed to notify all attorneys in this action of the
conference schedule in writing.

       Counsel for the parties shall confer in compliance with Fed. R. Civ. P. 26(f) at least
twenty-one (21) days prior to the scheduled conference to agree upon a proposed case
management plan. In addition to the matters covered by Fed. R. Civ. P. 26, the parties must
discuss and address in a report filed pursuant to Fed. R. Civ. P. 26(f):

       (i)     proposed deadlines for any claim construction proceedings;

        (ii)   the scope and timing of any claim construction discovery, including proposals
for the scope and scheduling of any expert discovery the parties propose to take in connection
with such proceedings;

        (iii)  if a claim construction hearing is believed to be necessary, the proposed format
thereof, including whether the Court is requested to hear live testimony, the order of
presentation, and the estimated length of the hearing;

        (iv)   proposed deadlines for service of infringement contentions by a party claiming
patent infringement, including deadlines for supplementation thereof after the Court’s ruling
on claim construction;

       (v)     proposed deadlines for service of invalidity and/or unenforceability
contentions by a party claiming invalidity and/or unenforceability of a patent, including
deadlines for supplementation thereof after the Court’s ruling on claim construction; and

       (vi)    the proposed form and timing of any technology tutorials for the Court.

       Counsel are directed to submit to Chambers this case management report along
with a joint letter seven days prior to the conference. The joint letter shall include a brief
description of the case, including factual, jurisdictional, and legal basis for the claim(s) and
defense(s), and address any contemplated motions.
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       Counsel are directed to review Judge Cogan’s Individual Practices, which may be
obtained on the Court’s website at https://www.nyed.uscourts.gov/content/judge-brian-m-
cogan. Requests for adjournment of the conference will be considered only if made in
writing and otherwise in accordance with Judge Cogan’s rules.

       Consent to Trial Before Magistrate Judge.

       If ALL parties consent to trial before a Magistrate Judge (with or without a jury), they
may execute and file by ECF the consent form at least 72 hours before the Initial Status
Conference. Upon filing of such form, the Initial Status Conference will be cancelled and the
case referred to the Magistrate Judge, and the parties shall not file a Case Management Plan
unless directed by the Magistrate Judge. Failure to return the executed Magistrate Judge
consent form prior to the Initial Status Conference before Judge Cogan shall constitute a
waiver of the parties’ opportunity to proceed before a Magistrate Judge.




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